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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                )
 STATE OF NEW YORK, et al.,                     )
                                                )
                Plaintiffs,                     ) Case No. 1:25-cv-01144-JAV
                                                )
        v.                                      )
                                                ) MOTION FOR ADMISSION
 PRESIDENT DONALD TRUMP, et al.,                ) PRO HAC VICE
                                                )
                Defendants.                     )
                                                )


       Pursuant to Rule 1.3 of the Local Rules of the United States District Courts for the Southern

and Eastern Districts of New York, I, David H. Thompson, hereby move this Court for an Order

for admission to practice Pro Hac Vice to appear as counsel for Amicus Curiae THE STATE OF

IOWA, in the above-captioned action.

       I am a member in good standing of the bars of the State of New York and the District of

Columbia, and there are no pending disciplinary proceedings against me in any state or federal

court. I have never been convicted of a felony. I have never been censured, suspended, disbarred,

or denied admission or readmission by any court. I have attached the declaration pursuant to Local

Rules 1.3 and 1.9.

Dated: February 13, 2025                             Respectfully submitted,

                                                     /s/ David H. Thompson
                                                     David H. Thompson
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